 1                                    UNITED STATES DISTRICT COURT

 2                                  NORTHERN DISTRICT OF CALIFORNIA

 3

 4
     FRESCIA GARRO PINCHI,                            )    CASE NO. 25-cv-05632-RMI (RFL)
 5                                                    )
     Petitioner,                                      )
 6                                                    )    DECLARATION OF
        v.                                            )    DEPORTATION OFFICER
 7                                                    )    ANTHONY D. LAZALDE JR.
     KRISTI NOEM, et al.,                             )
 8                                                    )
                                                      )
 9   Respondents.                                     )
                                                      )
10                                                    )

11
             I, Anthony D. Lazalde Jr., make the following statements under oath and subject to the penalty of
12
     perjury:
13
        1. I am a Deportation Officer (DO) with the United States Department of Homeland Security, U.S.
14
             Immigration and Customs Enforcement (ICE), Enforcement and Removal Operations (ERO), in
15
             the San Francisco Field Office. I have been employed with DHS since July 18, 2021, as a DO.
16
        2. I am currently assigned to the Non-detained Unit, and my responsibilities include enforcing final
17
             orders of removal against aliens. This includes monitoring non-detained cases with removal
18
             orders, obtaining travel documents for aliens ordered removed, and effectuating the removal of
19
             aliens to their home countries.
20
        3. I am familiar with the ICE policies and procedures governing the detention and removal of aliens
21
             who come into ICE’s custody.
22
        4. I am the DO assigned to the case of Frescia Garro Pinchi (GARRO PINCHI). The facts in this
23
             declaration are based on my personal knowledge, consultation with other DHS and ICE
24
             personnel, and review of official documents and records maintained by the agency and DHS and
25
             other relevant sources during the regular course of my duties. I provide this declaration based on
26
             the best of my knowledge, information, belief, and reasonable inquiry into the above-captioned
27
             case.
28

     DECLARATION OF DEPORTATION OFFICER ANTHONY D. LAZALDE JR.,
     25-cv-05632-RMI (RFL)                  1
 1      5. I have obtained and attached to my declaration true and correct copies of the following

 2         documents from the above-named Petitioner’s case file and records maintained by DHS, which

 3         will be referenced as follows:

 4                 Exhibit 1: Form I-862, Notice to Appear (NTA), dated April 14, 2023.

 5                 Exhibit 2: Form I-200, Warrant for Arrest of Alien, dated July 3, 2025.

 6                 Exhibit 3: Form I-830, Notice to EOIR of Alien Address, dated July 3, 2025.

 7      6. Plaintiff (GARRO PINCHI) is a native and citizen of Peru who entered the United States on or

 8         about April 14, 2023, without inspection, admission or parole. Exh. 1.

 9      7. GARRO PINCHI was encountered in the Yuma, Arizona Border Patrol Sector near San Luis,

10         Arizona after illegally entering from Mexico. Exh. 1.

11      8. GARRO PINCHI admitted to being a citizen and national of Peru without the necessary

12         documents to enter, pass through, or to remain in the United States.

13      9. On April 14, 2023, GARRO PINCHI was released by DHS on her own recognizance and was

14         issued a Notice to Appear placing her into removal proceedings before the Immigration Court,

15         charging her with removability under section 212(a)(6) of the Immigration and Nationality Act

16         (INA). Exh. 1.

17      10. GARRO-PINCHI’s initial master calendar hearing was rescheduled by the Immigration Court.

18         The respondent appeared at subsequent master calendar hearings, and she submitted an

19         application for asylum on April 26, 2024.

20      11. GARRO-PINCHI reported to the San Francisco Immigration Court at 630 Sansome Street, 4th

21         Floor, on July 3, 2025, for a master calendar hearing and DHS made an oral motion to the

22         Immigration Court to dismiss GARRO-PINCHI’s case and pursue expedited removal

23         proceedings under section 235 of the INA.

24      12. The Immigration Judge gave the respondent thirty days to respond to DHS’s motion to dismiss

25         and continued the matter to another master calendar hearing on July 31, 2025.

26      13. After the master calendar hearing, and outside of the courtroom, two deportation officers and I

27         identified ourselves as Immigration Officers and verified GARRO PINCHI’s identity.

28

     DECLARATION OF DEPORTATION OFFICER ANTHONY D. LAZALDE JR.,
     25-cv-05632-RMI (RFL)                  2
 1      14. Once informed that she would be taken into custody, a friend who was present with GARRO

 2         PINCHI impeded the arrest by grabbing onto her. After the deportation officers were able to

 3         deescalate the situation by moving GARRO PINCHI to a holding room at 630 Sansome Street, I

 4         personally observed deportation officer Jarvin Li serve her with a Form I-200, Warrant for Arrest

 5         of Alien, which had been prepared and signed in advance, but had been impracticable to serve

 6         previously due to the danger posed by the commotion outside the courtroom. Exh. 2.Thereafter,

 7         we transferred her to the Mesa Verde ICE Processing Center in Bakersfield California, where she

 8         was detained pursuant to section 236(a) of the INA. Exh. 3.

 9      15. On July 3, 2025, DHS filed an I-830 notifying the Immigration Court of the respondent’s

10         detention. Exh. 3.

11      16. On July 5, 2025, ERO released GARRO PINCHI from ICE custody pursuant to the July 4, 2025

12         temporary restraining order issued by the U.S. District Court for the Northern District of

13         California in Case No. 25-cv-05632-RMI (RFL).

14      17. I declare, under penalty of perjury, under 28 U.S.C. § 1746, that the foregoing is true and correct

15         to best of my knowledge, information, belief, and reasonable inquiry.

16

17        Dated: July 9, 2025

18                                                ANTHONY D                   Digitally signed by ANTHONY
                                                                              D LAZALDE JR

19                                                LAZALDE JR                  Date: 2025.07.09 16:48:33
                                                                              -07'00'
                                                  ANTHONY D. LAZALDE Jr.
20                                                Deportation Officer
21                                                Enforcement and Removal Operations
                                                  U.S. Immigration and Customs Enforcement
22                                                U.S. Department of Homeland Security

23

24

25

26

27

28

     DECLARATION OF DEPORTATION OFFICER ANTHONY D. LAZALDE JR.,
     25-cv-05632-RMI (RFL)                  3
